Case 1:25-cv-10139-LTS   Document 5-26   Filed 01/21/25   Page 1 of 3




            EXHIBIT Y
v-10139-LTS    Document 5-26             Filed 01/21/25

      COMMENTARIES
                      ΟΝ    ΤΗΕ


           LAWS
                           O F




      ENGLAND .
                IN FOUR BOOKS .

      By SIR   WILLIAM BLACKSTONE ,
      ONE OF HIS MAJESTY'S JUSTICES OF THE HONOUR-
              ABLE COURT OF COMMON PLEAS .

                      33146
              THE SIXTH EDITION .



                    DUBLIN           :


      PRINTED FOR THE COMPANY OF BOOKSELLERS .
                      M.DCC.LXXV .
cv-10139-LTS           Document 5-26                                 Filed 01/21/25
        366                The              RIGHTS                                  Book I.




                         CHAPTER THE TENTH .



         OF THE PEOPLE , WHETHER ALIENS ,
                     DENIZENS , OR NATIVES .




        H AVING
            I
        giftrates ,
                            , in the preceding chapters , treated of
                perfons as they ſtand in the public relations of ma-
                      now proceed to confider fuch perfons as fall

                                                                                        all
        under the denomination of the people. And herein          the
        inferior and fubordinate magiſtrates
                                                                                of
                                                                                in
                                                treated       the laſt
                                                                 ,




        chapter      are included
                 ,




                                      .




           THE first and most obvious divifion
                                                                          of




                                                      the people
                                                                                              is

        into aliens and natural born ſubjects Natural born ſubjects
                                       -




                                                                           -
                                                             .




        are fuch as are born within the dominions of the crown of
        England
                                                                     or
                                                                            as




                      that        within the ligeance                              generally
                             is




                                                                            is
                  ;




                                                                          , it
                              ,




                                                                 ,




                                                                                        as




                the allegiance      the king
                                        of




        called                                  and aliens ſuch      are
              ,




                                                             :
                      of




                                                                     or




        born out            Allegiance                 ligamen   which
                      it




                                           the tie
                                                     in is


                                                                 ,




                                                                                   ,
                      .




        binds the ſubject     the king
                              to




                                             return for that protection
                                                ,




        which the king affords the fubject                       The thing itſelf
                                                                                              of or
                                                                                        ,
                                                         in .




        ſubſtantial part
                             of




                               founded   reaſon and the nature
                                       is
                             it,




                       the name and the form are derived
                                                                                        to




        government                                             us
                      ;




        from our Gothic anceſtors                Under the feodal fyftem every
                                                                                    ,
                                            .




                 of lands held them
                                                                                              or




                                                  ſubjection   fome ſuperior
                                                                     to




        owner
                                                in




        lord from whom                 whoſe ancestors the tenant or vafal
                                  or
           ,




        had received them             and there was   mutual trust or confi-
                                                             a
                              :




        dence fubfifting     between the lord and vafal                        that the lord
                                                                          ,
                                                                           of




        fhould protect the vafal
                                             in




                                         the enjoyment                          the territory
                                                on




        he had granted him and                       the other hand            that the vaſal
                                  ,


                                            ,




                                                                          ,




                                                                                      ſhould
